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UNITED STATES DISTRICT courT | RECEIVED

for the
N
Western District of Oklahoma OV 05 2019

      

Prob19 (3/03)

 

U.S. MARSHALS W/OK
Docket No.: CR-18-011-1-SPF

 

 

U.S.A. vs Justin Lane Foust

 

TO: Any United States Marshal or any other authorized officer.

 

WARRANT FOR ARREST OF DEFENDANT

 

You are hereby commanded to arrest the within-named defendant and bring him or her,
forthwith before the United States District Court to answer charges that he or she violated the
conditions of his or her supervision imposed by the Courts.

NAME OF SUBJECT: SEX: RACE: AGE:

Foust, Justin Lane Male White 43

 

 

 

 

 

ADDRESS (STREET, CITY, STATE, ZIP)
1185 Ponderosa Drive, Sulphur, Oklahoma 73086

 

TO BE BROUGHT BEFORE
UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF OKLAHOMA

 

WARRANT ISSUED:
7:04 pm, Nov 05, 2019
CARMELITA REEDER SHINN, Clerk

 

 

 

 

 

 

Deputy Clerk
RETURN
WARRANT RECEIVED AND DATE RECEIVED iC DATE EXECUTED
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